
		
				IN RE: CERTIFICATION OF THE OFFICIAL OKLAHOMA STATUTES2025 OK 21Decided: 04/01/2025THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2025 OK 21, __ P.3d __

				

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ORDER



Upon the request of the Office of the Secretary of State for the Court's certification of the electronic publication of the annual compilation, codification, and annotations of the Oklahoma Statutes, beginning with all laws of a general and permanent nature in effect as of December 31, 2020, we hereby order that the attached fully executed Certificate be forwarded to West Publishing Corporation for inclusion in the electronic publication of the Oklahoma Statutes at Official Oklahoma Statutes (Unannotated): https://govt.westlaw.com/okjc/Index?transitionType=Default&amp;contextData=%28sc.Default%29, and Oklahoma Historical Statutes (Unannotated): https://govt.westlaw.com/okhs/Index. A copy of this order and the attached Certificate shall be forwarded to the Office of the Secretary of State.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 1st DAY OF APRIL, 2025.


/s/ ____________________________
CHIEF JUSTICE




Rowe, C.J., Kuehn, V.C.J., Combs, Gurich, Darby and Kane, JJ., concur;
Winchester and Edmondson, JJ., not participating.

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Certificate by the Justices of
the Supreme Court of Oklahoma

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WHEREAS, Article 5, Section 43 of the Oklahoma Constitution requires that the Oklahoma Legislature make provision by law for revising, digesting, and promulgating the statutes of the State every ten years, and 

WHEREAS, the Fifty-Seventh Oklahoma Legislature, through the enactment of Chapter 44, Section 1 of the 2020 Oklahoma Session Laws during its Second Regular Session (codified at  (effective November 1, 2020)), empowered the Secretary of State to select an appropriate vendor for the electronic publication and annual maintenance of compiling, codifying, and annotating the Oklahoma Statutes, that such annotations include all versions of the statutes amended after commencement of the electronic publication and that such electronic publication be accessible to the public free of charge, and

WHEREAS, the Secretary of State selected West Publishing Corporation, and by contract, the Secretary of State authorized, empowered, and directed West Publishing Corporation to electronically publish and annually maintain the compilation, codification, and annotations of the Oklahoma Statutes, according to the stated terms, specifications, and conditions.

NOW, THEREFORE, pursuant to  (effective November 1, 2020), the Justices of the Supreme Court of Oklahoma do hereby certify and adopt the electronically published compilation, codification, and annotations of the Oklahoma Statutes, beginning with all laws of a general and permanent nature in effect as of December 31, 2020, as the official Statutes of the State of Oklahoma. 

Dated this 1ST day of April, A.D., 2025.

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Chief Justice


	
		
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